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                               UNITED STATES DISTRICT COURT
8
                              CENTRAL DISTRICT OF CALIFORNIA
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      FRANCOIS TABI,                              No. CV 20-584 JAK (AFMx)
10
                 Plaintiff,
11
                        v.                        JUDGMENT
12
      JUDGE DOLLY M. GEE;                         JS-6
13    MAGISTRATE JACQUELINE
      CHOOLJIAN; CLERK OF THE
14    COURT NAMED CHRIS; CLERK OF
      THE COURT NAMED MR. SMITH;
15    and SEVERAL OTHER UNNAMED
      DEFENDANTS WHO ARE CLERKS
16    OF THE CENTRAL DISTRICT
      COURT,
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                 Defendants.
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20          Defendant’s Motion to Dismiss having been granted with prejudice, Plaintiff’s
21    Complaint is hereby DISMISSED WITH PREJUDICE in its entirety.
22
23    IT IS SO ORDERED AND ADJUDGED.
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25     Dated: October 13, 2021
26                                            John A. Kronstadt
                                              United States District Judge
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